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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF OHIO
                              EASTERN DIVISION

United States of America

      v.                                        Case No. 2:17-cr-138-1

Bernd D. Appleby

                                        ORDER
      By judgment entered on April 5, 2018, defendant was sentenced
to a term of incarceration of twenty-four months on Count 1 of the
information.      On September 9, 2019, the court received a letter
from the defendant requesting a reduction of his sentence, which
was docketed as a motion for reduction of sentence under 18 U.S.C.
§3582(c)(1)(A).        By order dated September 10, 2020, the court
denied the motion because defendant had not shown that he had
exhausted his prison administrative remedies.                 On April 9, 2020,
defendant filed another motion for release from detention based on
the COVID-19 pandemic.           On April 20, 2020, the motion was denied
without    prejudice      due    to   defendant’s     failure    to     exhaust   his
administrative remedies as required under §3582(c)(1)(A). On April
30, 2020, defendant filed a reply to the government’s response in
opposition to the motion.             By order dated May 1, 2020, the court
indicated    that    it   would       address   the   reply   as   a    motion    for
reconsideration and directed the government to respond.                           The
government has filed a response in opposition to the motion.
      Before defendant can file a motion for reduction in sentence
for   “extraordinary       and    compelling      reasons”      under    18   U.S.C.
§3582(c)(1)(A)(i) in the district court, the defendant must first
ask the warden to file a motion for a reduction in sentence on his
behalf.     If that request is denied by the warden within thirty
days, defendant must exhaust all administrative appeals before
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filing a motion in district court.             If, on the other hand, the
defendant presents her request to the warden and receives no
response within thirty days, he may then file a motion in the
district court.       See United States v. Daniels, No. 4:08-CR-0464-
SLB, 2020 WL     1938973 at *2-3 (N.D. Ala. Apr. 22, 2020); Guzman v.
United States, No. 2:10-CR-161, 2019 WL 1966106, at *2 (E.D.Tenn.
May 2, 2019).
      The exhaustion requirement contained in §3582(c)(1)(A) is
jurisdictional and cannot be waived, even due to emergencies such
as the COVID-19 pandemic.         See, e.g., United States v. Raia, ___
F.3d ___, 2020 WL 1647922, at *2 (3d Cir. Apr. 2, 2020); United
States v. Dickson, No. 1:19-cr-251-17, 2020 WL 1904058, at *2-3
(N.D. Ohio Apr. 17, 2020); United States v. Alam, No. 15-20351,
2020 WL 1703881, at *2 (E.D. Mich. Apr. 8, 2020).
      Defendant     contends    that   he   exhausted     his   administrative
remedies.     He has attached requests dated September 14, 2019, and
September 24, 2019, which he allegedly submitted to the warden. In
these requests, he asked for a reduction of sentence to time served
or home confinement, expressing his doubts concerning whether he
was guilty of wire fraud in light of the fact that Oracle America,
Inc., the victim of the fraud, was unsuccessful in its civil action
against another company.           These requests did not address the
grounds for a reduction in sentence raised by defendant’s April 9,
2020, motion, specifically, his health concerns in light of the
COVID-19 epidemic, his wife’s health, and her responsibilities as
caretaker for their great nephew. Defendant must first exhaust his
prison administrative remedies before filing a motion for reduction
of   sentence    under    §3582(c)(1)(A)(i),      be    it   due   to   COVID-19


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concerns,      his     other   health       conditions,    and    any     family
circumstances.
      For the foregoing reasons, the court denies defendant’s motion
for reconsideration of this court’s prior order denying his motion
for a reduction in his term of incarceration §3582(c)(1)(A)(i)
without prejudice due to his failure to exhaust his administrative
remedies.      The court will entertain a renewed motion from the
defendant if and when additional materials in support of the motion
are available.
      Defendant does not contest this court’s finding that it lacked
authority to order the Bureau of Prisons (“BOP”) to release him on
home confinement.       Doc. 142, p. 2.       However, the court notes that
defendant may be eligible for release on home confinement under the
Coronavirus Aid, Relief, and Economic Security Act (“CARES Act”),
§12003(b)(2), which authorizes the BOP, within its sole discretion,
to lengthen the maximum amount of time for which the BOP could
otherwise place a prisoner on home confinement under 18 U.S.C.
§3624(c)(2).         Defendant may also qualify for release on home
detention, at the sole discretion of the BOP, under the pilot
program authorized by the First Step Act of 2018, §603, codified in
34 U.S.C. §60541(g), which applies to eligible elderly offenders
who have served two-thirds of their terms of imprisonment. Counsel
are directed to investigate whether the authorities at Lompoc
Prison Camp are considering defendant for either of these programs.


Date: May 7, 2020                       s/James L. Graham
                                  James L. Graham
                                  United States District Judge




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